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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 UNITED STATES OF AMERICA,

       V.                                                   Crim.No. 18-75-LPS


 RYAN BACON,MICHAEL PRITCHETT,DION
 OLIVER, MAURICE COOPER,and TERES
 TINNIN,

               Defendants.



David C. Weiss, Maureen McCartney, Jesse S. Wenger, and Christopher L. de Barrena-Sarobe,
U.S. ATTORNEY'S OFFICE,DISTRICT OF DELAWARE,Wilmington,DE

       Attorneys for United States


Edson A. Bostic,THE BOSTIC LAW FIRM,Philadelphia, PA

Conor Wilson, OFFICE OF THE FEDERAL PUBLIC DEFENDER,Wilmington,DE

       Attorneys for Defendant Bacon

Jose Luis Ongay,LAW OFFICES OF JOSE LUIS ONGAY,Plymouth Meeting,PA

       Attorney for Defendant Pritchett

Michael N. Huff,LAW OFFICES OF MICHAEL N. HUFF,Philadelphia, PA

       Attorney for Defendant Oliver

Luis A. Ortiz, LAW OFFICES OF LUIS A. ORTIZ,Philadelphia,PA

       Attomey for Defendant Cooper

Christopher G. Furlong,LAW OFFICES OF CHRISTOPHER G.FURLONG,Media,PA

       Attomey for Defendant Tinnin


                                MEMORANDUM OPINION


November 1,2021
Wilmington, Delaware
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STARK,U.S. District Judge:

       Defendants Ryan Bacon, Michael Pritchett, Dion Oliver, Maurice Cooper, and Teres

Tinnin (collectively,"Defendants") were indicted on multiple criminal charges. Specifically, all

five Defendants are charged with (i) conspiracy to stalk, in violation of 18 U.S.C. § 371 ("Count

One");(ii) stalking, in violation of 18 U.S.C. § 2261A(2)(A)("Coimt Two");(iii) conspiracy to

commit kidnapping, in violation of 18 U.S.C. § 1201(a)&(c)("Count Three"); and (iv) use

and/or carrying of a firearm during and in relation to a crime of violence, in violation of 18

U.S.C. § 924(c)(1)(A)("Count Five"). Additionally, Bacon, Pritchett, Oliver, and Cooper are

charged with kidnapping, in violation of 18 U.S.C. § 1201(a)(1)&(2)("Count Four"). {See

generally Dl. 106)

       Defendants filed a variety of pretrial motions. Pritchett moves to suppress evidence

obtained from two cellphones (D.I. 169) and to exclude videos from his Snapchat account(D.I.

170). Bacon similarly requests that the Court exclude audio and video recordings of his rap

music. (D.I. 184) Tinnin asks the Court to suppress evidence obtained from a search of his

apartment. (D.I. 173) Oliver moves to suppress cell site location information, pen register and

trap and trace("PRTT")information, and physical evidence obtained pursuant to allegedly faulty

court orders and search warrants. (D.I. 171, 187) Moreover, Oliver seeks to dismiss the

firearms charge(Count Five) on the grounds that the predicate offense, stalking (in violation of

18 U.S.C. § 2261 A(2)(A)), does not qualify as a "crime of violence" within the meaning of 18

U.S.C. § 924(c)(3)(A). (D.I. 171) Tinnin wants to sever his trial from the trial for the other

four defendants. (D.I. 172) Pritchett, Tinnin, and Bacon all request early notice of any

evidence that the government must disclose under Federal Rule of Evidence 404(b). (D.I. 168,


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175,178) Finally, each defendant seeks to join the motions ofthe other defendants. (D.L 167,

171,174,176,177,186)

       For the reasons explained below,the Court will:(i) deny as moot Tinnin's motion to

suppress,(ii) deny the remaining motions to suppress,(iii) hold the motions to exclude in

abeyance so that the government may respond in accordance with the schedule for motions in

limine,(iv) deny Oliver's motion to dismiss Count Five,(v)deny Tinnin's motion for severance,

(vi) deny as moot the motions regarding Rule 404(b)evidence, and (vii) grant in part and deny in

part Defendants' motions to jom.

                                        BACKGROUND^

       Defendants Ryan Bacon, Michael Pritchett, Dion Oliver, Maurice Cooper, and Teres

Tinnin have known each other for many years, and they have also associated with Dontae Sykes.

In 2014,Bacon(under the name "Buck 50")released a rap video in which he was standing next

to Oliver and Tinnin. As part ofthe song. Bacon called another individiial, Markevis Stanford, a

"rat." Later that year, Oliver was shot, and he told a friend it was Stanford's fault.

        Several years later, in April 2017,tensions between Defendants and Stanford resurfaced

when Bacon released another rap song called "Conversations with Pac." This song,too,

referred to a "rat," evidently in reference to Stanford.




      'This background is based on the Statement ofthe Case and the Procedural History in
the government's omnibus response to Defendants' pretrial motions. {See generally D.I. 189 at
2-11) It is consistent with what the second superseding indictment alleges and what the
government intends to prove at trial. With the limited exception ofthe portion ofPritchett's
motion to suppress, on which the Court heard testimony at the hearing {see infra Section LA),
the Court agrees with the government that there are no factual disputes the Coxirt needs to resolve
(or does resolve)in ruling on the pending motions. {See D.L 189 at 2)
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       Shortly thereafter, Stanford and a friend saw Bacon driving aroimd Wilmington,

Delaware. Stanford offered his fiiend $10,000 if he killed Bacon, and Stanford gave him a gvm

and a mask. When Stanford's fiiend tried to kill Bacon,the gim failed to work, so he was

imsuccessful.


       In May 2017, Stanford and his fiiend saw Pritchett and Tinnin on a Wilmington street and

stole money and jewelry from them. Pritchett and Tinnin alerted Bacon, Oliver, Cooper, Sykes,

and others about the robbery, and the group talked about increasing the size of a reward for

killing Stanford or for information leading to Stanford's death.

       About a week later. Cooper saw Stanford and his fiiend walking on the street and shot at

them multiple times. Stanford and his fiiend shot back. After the shooting, a local bail

bondsman told Bacon and Oliver that they could use a database to see whether Stanford was in

custody as a result ofthe shooting. Stanford was in custody at the state correctional institution

at the time, but he posted bail and was released at the beginning of Jime.

       A few days after Stanford's release, Pritchett learned that Stanford was probably staying

with his girlfiiend, Keyonna Perkins, in Newark, Delaware. During the night of June 5-6,2017,

Pritchett called the other defendants and Sykes to tell them what he had learned. Early in the

morning, Pritchett and Sykes swapped their vehicles for their respective girlfriends' cars.

       By 8:00 a.m. that morning. Bacon,Pritchett, Oliver, Cooper, and Sykes had gathered by

Perkins' apartment. Tinnin was not with them; he was nearby at his own apartment in Newark.

Bacon, Pritchett, Oliver, Cooper, and Sykes waited in their cars by Perkins' red Camaro, which

they knew Stanford often drove.

       After a few hours of waiting. Bacon, Pritchett, Oliver, Cooper, and Sykes saw Perkins get
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into her car. They followed her to a local fast food restaurant and back to her apartment

complex. When she exited her vehicle, Oliver approached her with a gun,told her to get back

into her car, and demanded that she give him her apartments keys and cellphone. Oliver gave

the keys to the others, who went to search for Stanford in Perkins' apartment. Text messages

were also sent from Perkins' phone in an attempt to locate Stanford.

       Aroxmd 11:40 a.m., Stanford responded that he was by the intersection of Routes 896 and

40 in Newark. Tinnin, who had since left his apartment, also called Pritchett to let him know

that he(Tinnin) had seen Stanford walking on Route 896. Bacon,Pritchett, Oliver, Cooper, and

Sykes forced Perkins to get in the trunk ofone oftheir cars, and they all drove toward Stanford.

       About ten minutes later, the group found Stanford walldng along Route 896. They

pulled over to the side ofthe road, and multiple group members shot at him. Stanford was not

hit. Tinnin called the group to tell them that Stanford was unharmed.

       Bacon,Pritchett, Oliver, Cooper, and Sykes drove both cars to a church parking lot,

where they blindfolded Perkins and forced her to get into the trunk ofthe other car. Bacon and

Sykes took her to Elkton, Maryland. After driving down a gravel road into a wooded area,they

fatally shot Perkins five times.

       Pritchett and Oliver returned Pritchett's girlfiiend's car to her, and Pritchett took back his

distinctive white pickup truck with red racing stripes. Pritchett, Oliver, and Cooper then

traveled back to Wilmington.

       A couple of hours later. Defendants learned that Stanford had been seen by the probation

and parole office in New Castle, Delaware. At about 2:00 p.m., Pritchett and Oliver saw

Stanford get into a car there and followed him as he rode to Wilmington.
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       Around 2:30 p.m., Stanford exited the car by 6th and Spruce Streets in Wilmington.

Oliver shot at Stanford multiple times jfrom Pritchett's truck. Oliver's shots did not hit Stanford,

but one hit the head ofa six-year-old boy riding in a nearby vehicle. The boy survived, but is

now permanently disabled.

       The next day. Bacon, Pritchett, Oliver, Tinnin, and Sykes gathered at Tinnin's apartment

in Newark to discuss a plan to hide Pritchett's truck and to dispose ofthe guns that were involved

in the shootings on Route 896 and at 6th and Spruce Streets. The guns were hidden in a wooden

area close to Tinnin's apartment.

       That afternoon, Pritchett drove his truck toward Seaford, Delaware, while Oliver and

Sykes followed him. About an hour into the drive, the police stopped Pritchett's truck and

arrested him. During the arrest, the police seized one phone from Pritchett and another phone

from his truck.


       State and federal law enforcement started investigating. As part oftheir investigations,

law enforcement sought and received various court orders and search warrants. Some court

orders permitted law enforcement to obtain historical cell site location information("CSLI")for

Defendants' phones.

       As a result ofthe state investigation, the State of Delaware brought racketeering and

other charges against all Defendants and Sykes in 2017 and 2018. Pritchett was already in state

custody for his role in the shooting at 6th and Spruce Streets, and Cooper was aheady in state

custody for firearms charges. Bacon, Tinnin, and Oliver were not in custody at that time; they

were apprehended in Atlanta, Georgia in August 2018.

       On October 4,2018, a grand jury in the District of Delaware indicted Defendants and
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Sykes on multiple counts related to the shootings and Perkins' kidnapping. (D.I. 3) A few

months later, a grand jury returned a superseding indictment, which added a firearms charge

against all Defendants and Sykes. (D.I. 61) Sykes pleaded guilty to the charges against him.

(D.I. 98) In March 2020, a grand jury returned a second superseding indictment, which omitted

Sykes and added a charge for Tinnin. (D.I. 106)

       Between April and Jvme 2021, Defendants filed various pretrial motions. Having

carefully considered all the briefing and related materials (D.I. 167,168,169,170,171,172,173,

174,175,176,177,178,179,184,185,186,187,189,199,202),the Court conducted an

evidentiary hearing and heard oral argument on the pretrial motions on August 3,2021. (D.I.

212)("Tr.")

                                      LEGAL STANDARDS


I.     Motion to Suppress

       The Fourth Amendment to the U.S. Constitution protects the "right ofthe people to be

secure in their persons, houses, papers, and effects, against unreasonable searches and seizures."

The Fourth Amendment also directs that"no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized." See also Fed. R. Crim. P. 41(d). In determining whether

probable cause exists, ajudge need only "make a practical, common-sense decision whether,

given all the circumstances set forth in the affidavit... there is a fair probability that contraband

or evidence ofa crime will be foimd in a particular place." Illinois v. Gates,462 U.S. 213,238

(1983). When probable cause is later challenged,"[t]he role of a reviewing court is not to

decide probable cause de novo, but to determine whether 'the [judge who issued the search
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warrant] had a substantial basis for concluding that probable cause existed.'" United States v.

Steam,597 F.3d 540,554(3d Cir. 2010)(quoting Gates,462 U.S. at 238);see also United States

V. Ritter, 416 F.3d 256,264(3d Cir. 2005)("[T]he conclusions of a neutral [judge] regarding

probable cause are entitled to a great deal of deference by a reviewing court, and the temptation

to second-guess those conclusions should be avoided.").

       Ifthe government seeks to admit evidence that it collected pursuant to an illegal search or

seizure, the "exclusionary rule" may result in the suppression ofthat evidence, making it

unavailable at trial. United States v. Katzin, 769 F.3d 163,169(3d Cir. 2014)(en banc)(citing

Herring v. United States, 555 U.S. 135,139(2009)). "[T]he exclusionary rule encompasses

both the primary evidence obtained as a direct result of an illegal search or seizure" as well as

"evidence later discovered and found to be derivative ofan illegality, the so-called 'fruit ofthe

poisonous tree.'" Utah v. Strieff, 136 S. Ct. 2056,2061 (2016)(internal quotation marks

omitted). "The exclusionary rule is designed to deter police conduct that violates the

constitutional rights of citizens," including violations ofthe Fourth Amendment. United States

V. Zimmerman,277 F.3d 426,436(3d Cir. 2002).

       Even if a search is unlawful, the "extreme sanction" of excluding evidence is not

necessarily appropriate. United States v. Leon,468 U.S. 897,926(1984); see also Katzin, 769

F.3d at 170("Whether to suppress evidence under the exclusionary rule is a separate question

from whether the Government has violated an individual's Fourth Amendment rights."). For

instance, the good faith exception to the exclusionary rule "instructs that suppression ofevidence

is inappropriate when an ofBcer executes a search in objectively reasonable reliance on a

warrant's authority." Zimmerman,Til F.3d at 436 (internal quotation marks omitted); see also
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Leon,468 U.S. at 922 n.23 (noting that good faith inquiry "is confined to the objectively

ascertainable question [of] whether a reasonably well trained officer would have known that the

search was illegal despite the [judge]'s authorization").

II.    Motion for Severance

       Federal Rule of Criminal Procedure 14 gives the Court discretion to sever a defendant's

trial if"consolidation for trial appears to prejudice" the defendant. See also United States v.

Hart, 273 F.3d 363,370(3d Cir. 2001)("Whether to sever a trial is left to the sound discretion of

the district courts."). Notwithstanding the Court's discretion,"[tjhere is a preference in the

federal system for joint trials of defendants who are indicted together." Zqftro v. United States,

506 U.S. 534, 537(1993). Hence, a defendant bears"a heavy burden in gaining severance."

United States v. Quintero, 38 F.3d 1317,1343(3d Cir. 1994). "[A] district court should grant a

severance under Rule 14 only ifthere is a serious risk that ajoint trial would compromise a

specific trial right ofone ofthe defendants, or prevent the jury from making a reliable judgment

about guilt or innocence." United States v. Shabazz, 319 F. App'x 127,130(3d Cir. 2009)

(intemal quotation marks omitted); see also United States v. Gorecki, 813 F.2d 40,43(3d Cir.

1987)(noting that Rule 14 is "stringent" in requiring a showing of prejudice).

                                          DISCUSSION


I.      Motions to Suppress

        A.     Pritchett


        Pritchett moves to suppress evidence fi-om a cellphone with the number(302)415-5088

(the "-5088 phone") and another cellphone with the number(302)257-9818(the "-9818 phone").

(D.I. 169) Pritchett's motion consists ofthree parts:(i) Pritchett argues that his phones were


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illegally searched on July 13,2017, when law enforcement recorded videos from his Snapchat

 account(see D.I. 199 at 2-6);(ii) Pritchett maintains that warrants obtained in J\xly 2017 were

 defective (see id. at 6-7); and (iii) Pritchett contends that the police unlawfully searched his

 phones by removing their subscriber identity module("SIM")cards without a warrant(see id. at

 7-10).

          The first two portions of Pritchett's motion are premised on a misimderstanding. During

 discovery, the government produced a July 13,2017 recording of Detective Jones from the

 Wilmington Police Department viewing many videos that were saved to Pritchett's Snapchat

 account. (D.I. 179) Based on the video, Pritchett believed that the police had access to his

 phone on July 13,2017. Looking at the universe of search warrants in existence at that time,

 Pritchett assumed that the police had obtained warrants to search his phones that same day. (See

 generallyHl. 169-1,169-2)

          In fact, however, after the police seized Pritchett's phones during his arrest on June 7,

 2017,the phones were given to Detective Lenhardt. (D.I. 189-9 at #1014) Detective Lenhardt

 removed the phones'SIM cards so that he could obtain the relevant intemational mobile

 subscriber identity ("IMSI")numbers and phone numbers. (D.I. 189 at 45) Detective Lenhardt

 gave that information to Detective Jones and told him that the phones could not be accessed

 because they were locked with passcodes. (D.I. 189-9 at #1014) In November 2017,the police

 obtained a warrant and sent the -9818 phone to a company called Cellebrite, which has

 technology to access locked phones. (See generally D.I. 189-9) In January 2018, Cellebrite

 returned the -9818 phone to the police along with its passcode. (D.I. 189-10 at #1025) The

 passcode that Cellebrite provided unlocked both phones, allowing the police to review the
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contents of both phones. (D.I. 189-12 at #1045) Later on the same day he heard from

 Cellbrite, Detective Jones obtained two warrants, permitting a search of both the -9818

 and -5088 phones. (See generally D.l. 189-10,189-11)

        At the hearing. Detective Jones testified that on July 13,2017, Pritchett's phones were

 still inaccessible, so he did not view the Snapchat videos on Pritchett's phone when he made the

 July 13,2017 recording. (Tr. at 33) Instead, he had obtained a separate warrant for Pritchett's

 Snapchat account, and then used Pritchett's credentials to access Pritchett's Snapchat account on

 Detective Jones'own phone (issued to him by the Wilmington Police Department). (Id. at 29-

 30) Based on that testimony, Pritchett withdrew the first portion of his motion. (Id. at 41)

("We will not be able to pursue at this point the argument that the phone was searched without a

 warrant to access the Snapchat.") The Court need not further address that argument.

        In the second portion of his motion, Pritchett argues that the July 2017 warrants were

 defective because they authorized the police to search certain telephone accoimt records, not

 Pritchett's phones. (See D.l. 199 at 6-7) As explained above,the police did not rely on those

 warrants to search Pritchett's phones because they did not have access to the phones at that time.

 Rather, the police relied on two warrants that they obtained in January 2018, after Cellebrite

 determined the passcode for the -9818 phone. (See generally D.1.189-10,189-11)^



        ^ Pritchett also contends that the July 2017 warrants are defective because the supporting
 affidavits "do not contain evidence ofthe criminal activity that that will be found in the
 [specified] telephone accoimt records." (D.l. 199 at 6) Below,the Court concludes that the
 government inevitably would have discovered the telephone account records. Given that
 conclusion, the Court need not address Pritchett's additional challenges to the July 2017
 warrants.




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        In the third and final portion of his motion, Pritchett argues that evidence from his phones

and telephone account records should be suppressed because the police illegally searched his

phones when they removed the SIM cards. (D.L 199 at 7-10) In the government's view,

regardless of whether there was an unlawful search,the government still would have obtained

the contents ofthe phones and the telephone account records. (D.I. 189 at 47-54) The Court

 agrees with the government on this point.

        Even assuming (without deciding)that the removal ofthe SIM cards from Pritchett's

 phones qualifies as a search under the Fourth Amendment,suppression is not warranted.^ It is
 true that the affidavits supporting the search warrant applications contained Pritchett's phone

 numbers, which Detective Lenhardt had extracted from the phones' SIM cards without any legal

 process. (D.I. 189-10 at #1024; D.I. 189-11 at #1034) However,even ifthe phone numbers

 were stricken from the affidavits, a neutral judge still would have issued the warrants because

 they were supported by probable cause that Pritchett's phones woixld contain evidence ofthe

 crimes specified in the affidavit, regardless ofthe associated phone numbers. See United States

 V. Herrold, 962 F.2d 1131,1138(3d Cir. 1992)("[EJven assuming that some factual averments in

 the affidavit are tainted, they do not vitiate a warrant [that] is otherwise validly issued upon

 probable cause reflected in the affidavit."). As the government correctly explains,the affidavits



        ^ The government does not concede that the removal ofthe SIM cards amoimts to a
 search imder the Fourth Amendment because, in the government's view, SIM cards contain only
 identifying information, not detailed information about the phone's owner. {See D.I. 189 at 48
 n.l2)(citing Riley v. California, 573 U.S. 373, 396(2014)) Moreover, courts have held that the
 removal of a phone's battery is not a search under the Fourth Amendment. See, e.g., Ward v.
 Lee,2020 WL 6784195, at *8(E.D.N.Y. Nov. 18,2020)("[OJfficers may legally open the battery
 pack of a phone to view its serial number."). The instant case does not require the Court to
 decide this issue.


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established probable cause, based on the following:

               (i) a truck known to be operated by Defendant Pritchett was caught
               on camera taking part in a shooting,(ii) eyewitnesses and a
               shooting victim identified shots being fired from the white truck
               caught on the surveillance video,(iii) Defendant Pritchett was
               alone driving that same truck when arrested the day following the
               shooting,(iv)the searched phones were either found on Defendant
               Pritchett's person or on the driver's seat ofthe truck, and(v)
               Detective Jones'training and experience detailing why evidence of
               the crime of attempted first degree murder could be foimd on the
               Pritchett Phones.

(D.I. 189 at 50) Because the phone numbers were not necessary to establish the probable cause

 required to obtain warrants to search Pritchett's phones,the Court will not suppress any evidence

 from the phones.

        Nor will the Court suppress the related telephone accormt records. The "inevitable

 discovery doctrine" permits the government to use evidence obtained through an unlawful search

 when the government shows it is more likely than not that "the information ultimately or

 inevitably would have been discovered by lawful means." Nix v. Williams,467 U.S. 431,444

(1984). Here, there is no doubt that the government would have obtained the complete

 telephone accoimt records after lawful searches of Pritchett's phones. Searching the phones

 would have revealed their phone nimibers. Indeed, the government did confirm the phone

 numbers when it was able to unlock the phones in January 2018. (See D.I. 189 at 53) Once

 law enforcement had the phone numbers,they would have inevitably sought the associated

 telephone accoxmt records. Again,that is precisely what happened when the police sought court

 orders and search warrants to obtain the -5088 telephone account records. (See generally D.I.

 189-14,189-15,189-19,189-28,189-29) The Court is persuaded that the government has met



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its burden to show that it inevitably would have obtained the telephone account records, even if it

had never removed the SIM cards from Pritchett's phones. Thus,the Court will not suppress the

telephone accoimt records.

        Accordingly, Pritchett's motion to suppress will be denied.

        B.     Oliver

               1.       Cell Site Location Information

        Oliver first asks that the Court suppress his historical CSLI because the government

 should have obtained search warrants to gain access to that information. (D.I. 171 at 12-14)

Instead, between June 21,2017 and June 14,2018,the government obtained court orders under

 § 2703(d)ofthe Stored Communications Act("SCA")to access Oliver's historical CSLI. (See

 generally D.I. 171 Exs. A-F) At the time the government did so. Third Circuit precedent

 permitted collection of historical CSLI pursuant to § 2703(d) orders. See In re Application of

 U.S.for Order Directing Provider ofElec. Commc'n Serv. to Disclose Record to Gov't QUn re

 Application"), 620 F.3d 304, 313(3d Cir. 2010). Then, on June 22,2018,shortly after law

 enforcement obtained the last relevant § 2703(d)order in the instant case,the Supreme Court

 held that the government must have a search warrant supported by probable cause before

 collecting historical CSLI. See Carpenter v. United States, 138 S. Ct. 2206,2217(2018).

        "Evidence obtained during a search conducted in reasonable reliance on binding

 precedent is not subject to the exclusionary rule." Davis v. United States, 564 U.S. 229,241

(2011)). In this case, at all relevant times, binding precedent(In re Application) authorized the

 government's practice of collecting historical CSLI pursuant to § 2703(d) orders. Thus,the

 good faith exception applies and prevents the suppression of historical CSLI obtained pursuant to


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 § 2703(d)orders before the Supreme Court decided Carpenter. See United States v. Goldstein,

 914F.3d 200,204(2019).

        It does not matter that the Supreme Court had granted certiorari in Carpenter before the

 government obtained the disputed § 2703(d) orders. "The government could not have predicted

 the outcome of Carpenter ...from two [prior] Supreme Court cases that the Supreme Court

 itself said are not directly applicable." Id. at 205; see also United States v. Ramirez,471 F.

 Supp. 3d 354, 366 n.l2(D. Mass. 2020)("[T]he grant of certiorari has no effect on the

 Government's good faith reliance."). Thus,the good faith exception applies here.

        Oliver next asks that the Court suppress iofonnation obtained from "tower dumps,"

 which involve collecting cell site information for all phones connecting to a particular cell tower

 during a particular period. (D.I. 171 at 14-19) Specifically, the government obtained three

 § 2703(d)orders requiring four cellular service providers to disclose records about "all

 communications made using" cell towers servicing certain street addresses during certain time

 windows. {E.g., D.I. 171 Ex. A at #468)

        In Carpenter, the Supreme Court declined to decide whether a tower dump is a search

 under the Fourth Amendment. See 138 S. Ct. at 2220. For purposes ofthis case, the Court will

 assume, without deciding, that a tower dump amoimts to a search. As already noted, even when

 a search is unlawful,"the good faith exception applies when a search is executed pursuant to a

 statute that was valid at the time ofthe search but later declared unconstitutional." Goldstein,

 914 F.3d at 204(citing Illinois v. Krull, 480 U.S. 340(1987)). Similarly,"the exclusionary rule

 will not apply when law enforcement conducts a search pursuant to a judicial order later foimd

 invalid." Id. (citing United States v. Leon,468 U.S. 897(1984)). Here,the government


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obtained tower dumps pursuant to § 2703(d) orders. (See generally D.I. 171 Exs. A,B & E)

Law enforcement had used this investigative technique for many years, and the government's

reliance on it during the relevant period in this case was justified.

        Oliver has not cited any case holding that § 2703(d) does not permit tower dumps. To

the contrary, courts that have considered the issue have come out the other way. See, e.g.. In re

Applicationfor Cell Tower Records Under 18 U.S.C.§2703(d),90 F. Supp. 3d 673,676-77

(S.D. Tex. 2015). Nor has Oliver articulated any persioasive reasons why § 2703(d)is obviously

 unconstitutional or otherwise faulty.'* Thus,the good faith exception applies, and the Court will

 not suppress the evidence obtained in the tower dumps.

        Accordingly, Oliver's motion to suppress historical CSLI and information obtained from

 tower dumps will be denied.

                2.     Pen Register and Trap and Trace Information

        Oliver also seeks to suppress pen register and trap and trace information obtained

 pursuant to three § 2703 orders. (See generally D.I. 171 Exs. D & G; D.I. 187 Ex. M)

 According to Oliver,the applications for those orders "lacked specific and articulable facts

 showing that there were reasonable grounds to believe [he] was involved in criminal activity."

(D.1.171 at 19;      also D.I. 187 at 10)

        Oliver's motion fails because suppression is not an available remedy for violations ofthe

 Stored Communications Act. Instead, the SCA specifies three possible remedies for

 nonconstitutional violations:(i) preliminary, equitable, or declaratory relief,(ii) damages, and


        '* Contrary to Oliver's argument(see D.I. 171 at 17-19),§ 2703(d) orders are not
 imconstitutional "all persons" warrants. See, e.g.. United States v. Pembrook,876 F.3d 812,
 823-24(6th Cir. 2017)(rejecting similar "general warrant" argument for tower dumps).

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(iii) attorney fees and costs. 18 U.S.C. § 2707(b). These are "the oiify judicial remedies...for

nonconstitutional violations" ofthe SCA. Id. § 2708(emphasis added). Because Oliver does

 not assert a constitutional violation, suppression is not an available remedy. See, e.g., United

States V. Powell,444 F. App'x 517,520(3d Cir. 2011); see also United States v. Jones, 908 F.

 Supp. 2d 203,209(D.D.C. 2012)("[A]ll courts that have addressed the issue have held that the

 SCA does not provide for a suppression remedy.").

        Even if suppression were an available remedy, Oliver's arguments are unpersuasive.

 The applications for the PRTT orders contained specific allegations regarding Oliver's

 involvement in criminal activity. For example,the application that sought information

 regarding phone number(302)480-0090 (the "-0090 number")explained that Oliver was

 allegedly involved in distributing large quantities of heroin and was in contact with Bacon and

 Tinnin using the -0090 number. (D.I. 171 Ex. D f 3(a),(f)) Additionally,the application that

 sought information regarding Oliver's Instagram account detailed how phone records showed

 that Oliver left Delaware the day after he was indicted for the shooting at 6th and Spruce Streets.

(D.I. 187 Ex. M ^ 3(a)) It fiirther detailed how law enforcement located Oliver's Instagram

 page in an effort to leam Oliver's whereabouts because fugitives often use Instagram as a way to

 communicate without creating public records. (Id. 13(b)-(m)) The application that sought

 information about phone number(504)335-5587(the "-5587 number")contained similar

 allegations about how Oliver remained at large after his indictment and used the -5587 number to

 log in to his Instagram accoimt. (D.I. 171 Ex. G13) The facts presented in all three

 applications are specifically tied to Oliver's alleged criminal activity, and the corresponding

 § 2703 orders are not defective.


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        Accordingly, Oliver's motion to suppress PRTT information will be denied.

                3.     Physical Evidence

        Oliver further seeks to suppress evidence obtained pursuant to five different search

 warrants. (D.I. 171 at 22-27; D.I. 187 at 5-9) Oliver has failed to show that the judges who

signed the warrants did not have a'"substantial basis'" for doing so. Stearn, 597 F.Sd at 554

(quoting Gates,462 U.S. at 238). Even ifthe warrants were defective in some respect, the good

faith exception would prevent the exclusion of evidence obtained pursuant to those warrants.

        First, Oliver challenges a search warrant that authorized disclosure of prospective

location information for a certain T-Mobile device. {See generally D.I. 171 Ex. H) That

 application contained specific facts about how Oliver left Delaware for North Carolina after

 learning he had been indicted for the shooting at 6th and Spruce Streets. {Id.     4,8) It also

 explained that Oliver disabled a known cellphone number. {Id. Tf 9) Those allegations are

 sufficient to establish probable cause that Oliver fled in an attempt to avoid prosecution, in

 violation of 18 U.S.C. § 1073.

        Oliver also argues that a search warrant for records associated with phone number(302)

 268-2629("the -2629 number")lacked probable cause. {See generally D.I. 187 Ex. L) That

 argument fails for similar reasons. The supporting affidavit explained that law enforcement tied

 Oliver to the -2629 number by doing an analysis oftoll records, which revealed extensive

 interactions with Oliver's girlfiiend and repeated interactions with Bacon and Tinnin. {Id.

 ft 11-12) The supporting affidavit also contained specific allegations that a truck Oliver was

 known to drive "quickly left" for Camden,New Jersey shortly after his indictment became

 public. {Id. ft 7-10) Those factual averments are adequate to support a showing of probable


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cause.



         Similarly, Oliver challenges a search warrant for information related to the -0090 number.

(See generally D.I. 171 Ex. I) Oliver claims that the warrant lacked probable cause and was

overly broad because it did not establish that Oliver was connected to an attempt to harm

 Stanford in prison. (D.I. 171 at 26) The application for the warrant included many details

regarding the events leading up to Jime 6,2017 and the conspiracy to kill Stanford. (See D.I.

 171 Ex.11111-35) It explained that the conspiracy continued after the shootings and after

 Stanford was incarcerated for xmrelated offenses. (Id.     36-37) Those allegations are

 sufficient to establish probable cause because it is reasonable to infer that Oliver's connection

 with the conspiracy did not abruptly end on Jime 6,2017. Law enforcement was not required to

 have direct knowledge of Oliver's involvement with the prison plot. See United States v. Jones,

 994 F.2d 1051,1056(3d Cir. 1993)("[I]t is well established that direct evidence is not required

 for the issuance of a search warrant.").

         Oliver contends that a search warrant for his black iPhone was unsupported by probable

 cause and lacked particularity. (See generally D.I. 171 Ex. J) In fact, however,the warrant was

 supported by probable cause. The supporting affidavit explained that Oliver (also known as

"Sadizwakil Aleem")and other defendants were "active participants" in schemes involving drug

 trafficking and witness intimidation. (Id. 18) For instance, the affidavit states that Oliver and

 other defendants "routinely use[d] cellular phones" and "maintam[ed] multiple phones to

 facilitate the drug trade, the money laundering schemes, and to avoid detection by law

 enforcement." (Id.       8-9) The warrant was particularized, identifying the specific black

 iPhone to be searched.



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        Oliver asserts that a search warrant for an Apple account associated with his email

address was improper. (See generally D.1.171 Ex. K) In Oliver's view,the warrant was

overbroad because it sought the contents of all messages and other files in his Apple account.

(D.I. 171 at 27) Oliver does not accurately portray the scope ofthe warrant. Although Section

I ofAttachment B required that the provider disclose "[a]ll records or other information" and the

"contents of all emails"(D.I. 171 Ex. K at #622-23), Section II limited the evidence to be seized

 by the government to "[a]ll information described above in Section I that constitutes evidence or

fruit or instrumentalities" ofthe charged crimes "involving Dion Oliver" {id. at #625). Other

 courts have upheld similar warrants that limit the government's seizure to only some information

that must be disclosed. See, e.g.. United States v. Cariani,2019 WL 5085418, at *5(D. Nev.

 Oct. 10,2019)(rejecting overbreadth argument because defendant "confuse[d] the difference

 between disclosure and seizure"). This Court will do the same.

        Finally, even if any ofthe warrants were deficient in some respect, suppression still

 would not be appropriate. Under the good faith exception, evidence generally should not be

 excluded "when law enforcement conduct[ed] a search pursuant to a judicial order." Goldstein,

 914 F.Sd at 204. Exclusion would be appropriate only if:(i)the judge "issued the warrant in

 reliance on a deliberately or recklessly false affidavit,"(ii) the judge "abandoned his or her

judicial role and failed to perform his or her neutral and detached function,"(iii)"the warrant

 was based on an affidavit so lacking in indicia of probable cause as to render official belief in its

 existence entirely unreasonable," or (iv)"the warrant was so facially deficient that it failed to

 particularize the place to be searched or the things to be seized." United States v. Tracey, 597

 F.Sd 140,151 (3d Cir. 2010). There are no obvious deficiencies with the warrants Oliver


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challenges or their supporting affidavits. Nor does the record reveal any basis to find that the

issuing judges failed to perform their jobs or based their decisions on erroneous affidavits.

Thus, excluding evidence would not be appropriate for any ofthe five warrants.

        Accordingly, Oliver's motion to suppress physical evidence will be denied.

        C.     Tinnin

        Tinnin moves to suppress evidence obtained firom his apartment in Newark pursuant to a

January 2018 search warrant. (D.I. 173 at 1) Tinnin argues that the warrant was overly broad,

obtained too late, and lacked any nexus to the charged crimes. {Id. at 2) The government has

represented that it will not seek to "admit any ofthe evidence seized from,or derived from,the

 January 2018 search" ofTiimin's apartment. (D.I. 189 at 55) During the hearing, Tinnin

 confirmed that he is comfortable with the government's representation. (Tr. at 61)

 Accordingly, the Court will deny Tinnin's motion to suppress as moot,

 n.     Pritchett's and Bacon's Motions to Exclude

        Pritchett seeks "an Order excluding and limiting the admissibility ofcertain evidence,"

 including video recordings from his Snapchat account and any evidence regarding efforts by

 Dwayne White to communicate with the six-year-old victim's family. (D.I. 170 at 1-2)

 Similarly, Bacon filed a motion to exclude "lyrics from his rap music in any form." (D.I. 184 at

 I) As the government points out, these motions are fairly characterized as motions in limine.

 Under the governing scheduling order, briefing on motions in limine is not due to be completed

 until December 2021. (D.I. 203 f 4) During the hearing. Bacon and Pritchett agreed that their

 motions to exclude could be handled at the same time as any other motions in limine. (Tr. at 62)

 Accordingly, the Court will hold the motions to exclude in abeyance, and the government will be


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 obligated to respond to them on or before the December 10,2021 deadline set in the scheduling

 order.


III.      Oliver's Motion to Dismiss Count Five

          Oliver moves to dismiss Count Five ofthe second superseding indictment. (D.I. 171 at

 27-31) Count Five charges Defendants with using and/or carrying a firearm during and in

 relation to a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A) and 2. (D.I. 106 at 17-

 18) That statute provides that individuals who possess, brandish, or discharge firearms while

 committing crimes of violence are subject to increased penalties:

                 Except to the extent that a greater minimum sentence is otherwise
                 provided by this subsection or by any other provision oflaw, any
                 person who, during and in relation to any crime of violence or drug
                 trafficking crime ...for which the person may be prosecuted in a
                 court ofthe United States, uses or carries a firearm, or who,in
                 furtherance ofany such crime, possesses a firearm, shall, m
                 addition to the punishment provided for such crime ofviolence or
                 drug trafficking crime -

                        (i) be sentenced to a term ofimprisonment of not less than
                 5 years;

                       (ii) ifthe firearm is brandished, be sentenced to a term of
                 imprisonment of not less than 7 years; and

                       (iii) if the firearm is discharged, be sentenced to a term of
                 imprisonment ofnot less than 10 years.

 18 U.S.C. § 924(c)(1)(A)(emphasis added). The statute further defines a "crime of violence" as

 any felony that"has as an element the use, attempted use, or threatened use of physical force

 against the person or property of another." Id. § 924(c)(3)(A). This definition is known as the




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"elements clause."^ "Physical force" means "violent force-that is, force capable of causing

physical pain or injury to another person." Johnson v. United States, 559 U.S. 133,140(2010)

(emphasis omitted).

        To determiue whether an offense is a "crime of violence" under the elements clause,

 courts undertake an analysis known as the "categorical approach." Under the categorical

 approach,"courts may look only to the statutory definitions- i.e., the elements-of a defendant's

[predicate] offenses, and not to the particular facts" ofthe defendant's charges. Descamps v.

 United States, 570 U.S. 254,261 (2013). That is, courts "look to the elements ofthe [predicate]

 offense to ascertain the least culpable conduct hypothetically necessary to sustain a conviction

imder the statute." United States v. Dahl,833 F.3d 345,350(3d Cir. 2016)(intemal quotation

 marks omitted). When a statute is "divisible," meaning that it establishes altemative versions of

 the crime, courts apply a "modified categorical approach" in which they are permitted to

"examine a limited class of documents," including the charging documents,"to determine which

 of a statute's altemative elements form[s] the basis" for the predicate offense. Descamps,570

 U.S. at 261-62.


        Here,the predicate crime of violence for Count Five is stalking, as outlined in Count

 Two. The federal stalking statute provides:

                Whoever-



        ^ The statute includes a second definition for "crime of violence" that encompasses any
 felony "that by its nature, involves a substantial risk that physical force against the person or
 property of another may be used in the course of committing the offense." Id. § 924(c)(3)(B).
 The Supreme Court has held that this "residual clause" is unconstitutionally vague. See
 generally United States v. Davis, 139 S. Ct. 2319(2019). Thus,the parties agree that,for a
 charge under § 924(c)(1)(A)to be available, the predicate offense must be a crime of violence
 vmder the elements clause. (See D.I. 171 at 27-28; D.I. 189 at 56 n.l8)

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            (1)travels in interstate or foreign commerce or is present within
            the special maritime and territorial jurisdiction ofthe United
            States, or enters or leaves Indian country, with the intent to kill,
            injure, harass, intimidate, or place imder surveillance with intent to
            kill, injure, harass, or intimidate another person, and in the course
            of, or as a result of, such travel or presence engages in conduct
            that-


                    (A)places that person in reasonable fear ofthe death of, or
            serious bodily injury to -

                           (i) that person;

                           (ii) an immediate family member(as defined in
                    section 115)ofthat person; or

                           (iii) a spouse or intimate partner ofthat person; or

                  (B)causes, attempts to cause, or would be reasonably
            expected to cause substantial emotional distress to a person
            described in clause (i),(ii), or (iii) ofsubparagraph(A); or

            (2) with the intent to kill, injure, harass, intimidate, or place vmder
            surveillance with intent to kill, injure, harass, or intimidate another
            person, uses the mail, any interactive computer service or
            electronic communication service or electronic communication
            system ofinterstate commerce, or any other facility of interstate or
            foreign commerce to engage in a course of conduct that-

                    (A)places that person in reasonablefear ofthe death ofor
            serious bodily injury to a person described in clause (i),(ii), or
            (iii) of paragraph (1)(A); or

                  (B)causes, attempts to cause, or would be reasonably
            expected to cause substantial emotional distress to a person
            described in clause (i),(ii), or (iii) of paragraph (1)(A),

            shall he punished as provided in section 2261(b)ofthis title.




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 18 U.S.C. § 2261A(2013)(emphasis added).^ The government refers to the conduct in

§ 2261A(2)(A)as "cyberstalking." (See, e.g., D.I. 189 at 55)

        The cyberstalking provision is divisible from the rest of§ 2261A because the other

 provisions in § 2261A define separate crimes. See, e.g., Mathis v. United States, 136 S. Ct.

 2243,2249(2016)("A single statute may list elements in the alternative, and thereby define

 multiple crimes."). For example, § 2261A(1)(A)is different from § 2261 A(2)(A) because

 § 2261A(1)(A)requires travel in interstate or foreign commerce,presence within the special

 maritime and territorial jurisdiction ofthe United States, or entry into or exit from Indian

 country, while § 2261A(2)(A)does not.

        As a preliminary matter, the Court must address what the government concedes is a

 mistake in the second superseding indictment. As noted above. Count Two is the predicate

 offense for the firearms charge in Count Five. In the original indictment. Count Two charged

 Defendants with violations of§ 2261A(2)(A)and(B). (D.I. 3 at 12) Section 2261A(2)(B)

 differs from § 2261A(2)(A)in that § 2261A(2)(A)requires causing "reasonable fear" of"death"

 or "serious bodily injury," while § 2261A(2)(B)requires causing only "substantial emotional

 distress." Unlike the original indictment,the second superseding indictment charges

 cyberstalking in violation ofonly § 2261A(2)(A), but Count Two ofthe second superseding

 indictment still contains the now-inapplicable "substantial emotional distress" language found

 only in § 2261A(2)(B). (D.I. 106 at 12) The government concedes that this language should

 have been removed when the government decided not to charge a violation of § 2261A(2)(B).



        ^ This version ofthe statute is the one that was in effect at the relevant time. (See D.I.
 189 at 57) Since 2013,the statute has been amended in ways that are immaterial to this case.

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(See, e.g., D.1.189 at 59)(referring to "substantial emotional distress" language as "mere

surplusage")

         In Oliver's view, the government should be required to obtain a third superseding

indictment without the "substantial emotional distress" language. (Tr. at 45-46) Because the

jurors may review the second superseding indictment during deliberations, Oliver is particularly

concerned that they may be misled into convicting Defendants of Cormt Two for conduct that

 does not amoimt to a crime of violence,thereby making a conviction on Coimt Five improper.

         The Court does not agree that it must dismiss Count Five because of a minor drafting

 error. See generally United States v. Hataway,933 F.3d 940,944-45 (8th Cir. 2019)(explaining

that charging document is viewed as whole,including in deterrnining relevant portion of

 divisible statute). The government indicated during the hearing that it would be amenable to

 redacting the "substantial emotional distress" language from the second superseding indictment

 before providing copies to the jury. (Tr. at 56)^ Alternatively, or additionally, the Court might

 cure any prejudice to Defendants by instructing the jurors that Count Two contains an error and

 that they must disregard the "substantial emotional distress" language. Regardless, as the

 government emphasizes,"the jury will be instructed only on the elements of § 2261A(2)(A)."

(D.I. 189 at 59) Under these circumstances, the second superseding indictment is sufficiently

 clear, notwithstanding the admitted mistake in Coimt Two.

         The Coiuf now turns to Oliver's principal challenge. Oliver maintains that the



         ^ The government noted that it was imsure ofthe Court's authority to redact the second
 superseding indictment. (Tr. at 56-57) This is an issue the parties should consider further as
 the case proceeds to trial, and they should update the Court on their views at the appropriate
 time.


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cyberstalking provision has "no element of physical force" and,therefore, could be violated

"without any use, attempted use, or threatened use of physical force." (D.1.171 at 30;see also

 Tr. at 46) The government disagrees, arguing that "[a]n individual cannot engage in a 'course of

 conduct'that puts somebody 'in reasonable fear ofthe death of or serious bodily injury' to a

 person without engaging in conduct that, at a minimiam,threatens the use of physical force."

(D.I. 189 at 60) The Court agrees with the government.

        The most relevant Third Circuit case cited by the government is United States v. Wilson,

 880 F.Sd 80(3d Cir. 2018). In Wilson, the court considered whether unarmed bank robbery by

 intimidation, in violation of 18 U.S.C. § 2113(a), is a crime of violence under the U.S.

 Sentencing Guidelines' elements clause, which is similar to § 924(c)(3)(A). Joining seven other

 Courts ofAppeals, the Third Circuit concluded that imarmed bank robbery by intimidation

 necessarily involves at least the threat of physical force, making it a crime of violence. See id.

 at 85. That holding supports the government's position in this case that cyberstalking is also a

 crime of violence. Section 2261A(2)(A)requires the victim to have "reasonable fear" of death

 or serious bodily injury, and Oliver has not articulated any plausible scenario in which a victim

 could reasonably have such a fear without at least the threat of physical force.® {See Tr. at 46-

 47;see also generally United States v. Lockley,632 F.3d 1238,1245 (11th Cir. 2011)("We find it

 inconceivable that any act which causes the victim to fear death or great bodily harm would not

 involve the use or threatened use of physical force."))



        ® Oliver's suggestion that the analysis would "depend on the facts and circumstances,"
 including "what the individual... subjectively believes"(Tr. at 46;see also id. at 48), appears to
 contradict the required categorical approach. See Descamps,570 U.S. at 261.


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        other courts have reached similar conclusions in considering state stalking statutes. For

example,in United States v. Seay,553 F.Sd 732,737-38 (4th Cir. 2009),the court held that

felony stalking under North Carolina law is a crime of violence under the U.S. Sentencing

 Guidelines' elements clause. The court explicitly rejected the defendant's argument that

"[cjonduct intended to cause another reasonable fear of bodily injury does not naturally include

the threatened use of physical force." Id.; see also id. at 738(noting that "[wjillfully placiog a

 person in fear of bodily harm is inherently a threat"). In United States v. Johnson, 707 F.3d 655,

662(6th Cir. 2013),the court endorsed the reasoning in Seay?

        Oliver cites three additional cases from other circuits, but none ofthem supports his

 position. First, Oliver relies on United States v. Veal, 138 F. App'x 902(9th Cir. 2005),in which

 the defendant was convicted of violating the then-existent version of § 2261A. That case

 involved a pattern of behavior that culminated in the defendant showing up at the victim child's

 school with a picture ofthe child, a note to the child's teacher, and a pair of children's socks. Id.

 at 904. That course of conduct gave the child a reasonable fear that she might be kidnapped or

 killed, and it involved at least the threatened use of physical force.

        Next, Oliver cites United States v. Wills, 346 F.3d 476(4th Cir. 2003), which also upheld

 a conviction under the version of§ 2261A that was in effect at the time. That case involved a

 ruse in which the defendant left a cellphone and fake fliers at the victim's door so that the victim

 would call the defendant, who was posing as a potential employer. See id. at 843-44. The



        ^ The Sixth Circuit concluded that conduct violating Kentucky's stalking statute is not
 necessarily a crime of violence under the elements clause because Kentucky's statute extends
 beyond fear of death and serious physical injury to include fear ofsexual contact. See Johnson,
 707 F.3d at 662.


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defendant lured the victim to a fake job interview, resulting in the victim's disappearance. See

id. Because the defendant's conduct involved at least the threat of physical force (and

eventually the actual use of physical force), the Fourth Circuit held that there was sujOScient

evidence to conclude that the victim had a reasonable fear of death or serious bodily injury

before he was killed. See id. at 499. Neither Veal nor Wills provides an example of how a

defendant may be convicted of violating § 2261A without at least the threatened use of physical

force.


         Third, Oliver points to United States v. Sayer,748 F.3d 425 (1st Cir. 2014). In that case,

the defendant was convicted ofcyberstalking after he had uploaded sexually explicit photographs

 and videos of his ex-girlfnend to the internet. See id. at 428-30. The then-applicable version of

§ 2261A(2)(A) was broader than the version ofthe statute applicable in this case because, at that

time, it prohibited causing "substantial emotional distress" and did not necessarily require

 reasonable fear of death or serious bodily injury. See 18 U.S.C. § 2261A(2)(2006). Sayer,

 then, does not speak to whether the narrower version of§ 2261A(2)(A)requires at least the

 threat of physical force.

         Finally, the Court recognizes that one district court has concluded that a previous version

 of§ 2261A(1), which also required reasonable fear of death or serious bodily injury, does not

 meet the elements clause of§ 924(c)(3). See generally United States v. Minners, 2020 WL

 4275040, at *5-7(N.D. Okla. July 24,2020). That court hypothesized the follovmig scenario in

 which it reasoned a defendant could be convicted of cyberstalking without the threatened use of

 physical force:"For example,the defendant may have had a prior relationship with the victim, so

 by merely telling the victim that the defendant will be in his or her area [the defendant] could


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cause the victim a reasonable fear of death or serious bodily injury." Id. at *6. In this Court's

view,the hypothesized scenario does involve at least the threatened use of physical force, when

considering all the circumstances. Moreover,the version ofthe statute applicable here requires

that the defendant intend "to kill, injure, harass, intimidate, or place under surveillance with

intent to kill, injure, harass, or intimidate." It does not, therefore, reach imintentional conduct,

as potentially contemplated in the Minners hypothetical. Ifthe hypothetical defendant

intentionally communicates with the victim in a way that causes reasonable fear of death or

serious bodily injury, that communication necessarily involves at least the threatened use of

physical force.

        In sum,cyberstalking, as prohibited by the relevant version of § 2261A(2)(A), is a crime

 of violence under § 924(c)(3)(A). Accordingly,the Court will deny Oliver's motion to dismiss

 Count Five ofthe second superseding indictment,

 rv.    Tinnin's Motion for Severance

        Tinnin moves to sever his trial from the trial ofthe other defendants. (D.I. 172) In

 particular, Tinnin suggests that it would be unfair for him to be tried at the same time as Pritchett.

(See id.) According to Tinnin,"[bjecause ofthe impact of various quantity of evidence as it

 pertains to Pritchett, versus Tinnin," Tinnin will purportedly "have no alternative but [to] sling as

 much mud on his codefendant[,] resulting in almost two prosecutorial teams against one." (Id.

 at 2) Yet Tinnin acknowledges that"a defendant is not necessarily entitled to a severance

 because the evidence against a codefendant is more damaging [than] against him." (Id.)(citing

 United States v. Urban,404 F.Sd 754(3d Cir. 2005)) Tinnin falls far short ofshowing, as he

 must, there is a "serious risk that a joint trial would compromise a specific trial right." Shabazz,


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319 F. App'x at 130; see also Zafiro, 506 U.S. at 539(stating court should grant severance

 motion "only if there is a serious risk that a joint trial would compromise a specific trial right of

one ofthe defendants, or prevent the jury from making a reliable judgment about guilt or

innocence").

        Similarly, to the extent that Tinnin seeks severance because he and Pritchett have

"antagonistic defenses," Tinnin has not explained why their defenses "conflict to the point of

 being irreconcilable and mutually exclusive." United States v. Provenzano,688 F.2d 194,198

(3d Cir. 1982)(intemal quotation marks omitted). Presvunably, Tinnin's motion is based on the

 notion that Tinnin and Pritchett may blame each other for any evidence found in Tinnin's

 apartment, to which Pritchett also had access. But the government will not rely on any evidence

 obtained from Tinnin's apartment. (See supra Section I.C) Finther, even if Tinnin and Pritchett

 were inclined to blame each other,"finger-pointing and blame-shifting among coconspirators do

 not support a finding of mutually antagonistic defenses." United States v. Voigt, 89 F.3d 1050,

 1095(3d Cir. 1996).

         Moreover,judicial economy weighs heavily in favor oftrying Tinnin alongside the other

 defendants, particularly considering that all Defendants are charged with entering into the same

 conspiracy. See United States v. Eufrasio,935 F.2d 553, 568-69(3d Cir. 1991). Accordingly,

 Tinnin's motion for severance will be denied.


 V.      Pritchett's, Tinniii's & Bacon's Motions Regarding Rule 404(b)Evidence

         Pritchett, Tinnin, and Bacon all request that the Court order the government to disclose to

 them any evidence falling within the scope of Federal Rule of Criminal Procedure 404(b). (See

 generally D.I. 168,175,178) During the hearing, the government informed the Court that it had


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worked out a deal with Defendants; the government will notify defense counsel by November

 15,2021 ofits intentions regarding any Rule 404(b)evidence, including which rap songs it

believes are admissible. (Tr. at 8-9, 50) Defendants'counsel either confirmed that this

 arrangement is acceptable or did not contest the government's representation that the issue had

 been resolved. (See id. at 41,49-50, 59,61,62) After the hearing, the Court entered an order

to formalize the government's obligations under the parties' compromise. (See D.I. 210)

 Accordingly, the motions regarding Rule 404(b)evidence will be denied as moot.

 VI.    Motions to Join

        All other defendants seek to join Oliver's motion to dismiss Count Five ofthe second

 superseding indictment(D.I. 171 Point 4)on the ground that cyberstalking, in violation of

 § 2261A(2)(A), is not a"crime of violence" under § 924(c)(3)(A). (See generally D.I. 167,174,

 176,177) During the hearing,the government did not oppose the other defendants'requests to

join that motion. (Tr. at 13-14,17-18) Accordingly,the Court will permit all other defendants

 to join Oliver's motion to dismiss.

        Cooper would like to join Oliver's motion (D.l. 171) with respect to the argument that the

 government impermissibly gathered cellphone information using tower diimps. (Tr. at 17; see

 also D.l. 176) During the hearing, the government stated that it did not object to any defendant

joining Oliver's motion to challenge the "general tower dump orders" because those orders are

 not specific to any defendant. (Tr. at 18) Accordingly, the Court will permit Cooper to join

 Oliver's motion in this regard.

        Tinnin also seeks to join Oliver's motion (D.l. 171) with respect to the suppression of

 evidence obtained pursuant to § 2703(d)orders. (Tr. at 16-17; see also D.l. 174) Tinnin's


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counsel implied that the § 2703(d)orders relating to Tinnin are not the same as the orders

relating to Oliver. (See Tr. at 16-17) In other words, Tinnin seeks different reliefthan Oliver

does. Additionally, Bacon filed a supplemental motion to suppress evidence obtained pursuant

to certain court orders and search warrants relating to him (D.I. 186), incorporating by reference

arguments in Oliver's motion (D.I. 171). (See Tr. at 14-16) Like Tinnin, Bacon seeks different

reliefthan Oliver does. (Compare D.1.186 at 2 with D.I. 189 at 17) The government objects to

 Tinnin's and Bacon's requests as vmclear and imtimely, and the Court agrees with the

 government. The Court will not permit Tinnin and Bacon to challenge procedures and evidence

for which no specific arguments have been articulated. Moreover,the issue may be moot now

 that the Court has rejected all of Oliver's challenges to the various court orders and search

 warrants. (See supra Section II.B) Accordingly, with respect to the issue ofsuppression,

 Tinnin's and Bacon's motions to join will be denied without prejudice.

         Finally, Oliver initially filed a motion seeking to join the other defendants' motions.

(D.I. 171 at 31) During the hearing, however, Oliver confirmed that he is no longer seeking to

join any other motions. (Tr. at 14) Accordingly, Oliver's motion to join will be denied as

 moot.


                                          CONCLUSION


         The Court will dispose ofthe pretrial motions in accordance with the rulings explained

 above. An appropriate order follows.




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